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 2
                               UNITED STATES DISTRICT COURT
 3
                                       DISTRICT OF NEVADA
 4
 5   DUSTON MILLER,
                                                            Case No.: 2:17-cv-02021-RFB-NJK
 6          Plaintiff,
                                                                          ORDER
 7   v.
                                                                     [Docket No. 140]
 8   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT, et al.,
 9
            Defendants.
10
11         Pending before the Court is Defendants’ motion to extend time to file a joint pretrial order.
12 Docket No. 140. No response was filed. See Docket. Defendants seek a thirty-day extension of
13 the joint pretrial order deadline. Docket No. 140 at 1. For good cause shown, Defendants’ motion
14 is GRANTED. The deadline for the parties to file a joint pretrial order is EXTENDED to
15 November 10, 2021.
16         IT IS SO ORDERED.
17         Dated: October 28, 2021.
18                                               ____________________________________
                                                 NANCY J. KOPPE
19                                               UNITED STATES MAGISTRATE JUDGE
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